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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 ALACRITECH, INC.,

 Plaintiff,

         v.
                                                     2:16-cv-00693-JRG (LEAD CASE)
 TIER 3, ET AL.,
                                                     2:16-cv-00692-JRG
 WISTRON CORPORATION ET AL.,

 DELL INC.,                                          2:16-cv-00695-JRG

 Defendants.




  JOINT MOTION FOR ADOPTION AND RESOLUTION OF DISPUTED ISSUES WITH
                    RESPECT TO PROTECTIVE ORDER

         Plaintiff Alacritech, Inc. ("Alacritech") and Defendants Tier 3, et al., Wistron

 Corporation, et al., and Dell Inc. (collectively, "Defendants"), hereby jointly move the Court for

 entry of a Protective Order in this case.1 The Parties have reached agreement on all but two

 issues for the order. The first dispute relates to two sentences which are proposed by Defendants

 in Paragraph 6 concerning when P.R. 3-1 and 3-3 contention claim charts are eligible for

 designation under the Protective Order. The second dispute relates to printing of Source Code in

 accordance with Paragraph 10(h). The proposed Protective Order is attached hereto as Exhibit

 A, with the disputed provisions and the Parties’ proposals identified. The Parties' positions on

 these issues are set forth below.


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           The Court's Order of August 1, 2016 set a deadline of September 20, 2016 for entry of
 the Protective Order. On September 20, 2016, the parties filed an Unopposed Motion for
 Extension of Time, seeking to move the deadline for filing the Protective Order to September 27,
 2016. See Unopposed Motion for Extension of Time, 9/20/16, Dkt No. 46. The motion is
 pending.
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 Alacritech’s Position on Paragraph 6

 I.     Claim Charts Should Be Eligible for Designation under the Protective Order

        Plaintiff's position is that all documents and information, including claim charts, should

 be eligible for designation under the Protective Order if they contain confidential information as

 defined in the order. As such, Plaintiff requests that the Court reject the two sentences proposed

 by Defendants that set a blanket prohibition on designating claim charts under the order.

        This Court considered this identical issue in ExitExchange Corp. v. Casale Media Inc.,

 and held that claim charts, in general, are eligible for protection under a Protective Order. No.

 2:10-cv-297, Dkt. No. 223 (E.D. Tex. May 20, 2011). The Court made clear that protection is

 appropriate and allowed where "documents such as claim charts [] contain information that is

 confidential technical or business information that is not generally known, that would not

 normally be revealed to third parties, and for which its disclosure would be detrimental to the

 party's business."    Id.   This ExitExchange standard governing the types of documents and

 information that can be designated under a Protective Order is specific and reasonable, and it is

 nearly identical to the below standard in the Parties' proposed Protective Order for this case:

                  A Party shall designate documents, information or material as
                  “CONFIDENTIAL” only upon a good faith belief that the
                  documents, information or material constitutes confidential or
                  proprietary technical, scientific, or business information …, that is
                  not generally known, that would not normally be revealed to third
                  parties, and disclosure of which would be competitively detrimental
                  to the conduct of the Party’s … business.

 See Exh. A ¶6.

        There is no reason for the Court to deviate from ExitExchange’s holding that claim

 charts, like any other category of documents or information, are eligible for designation and

 protection under a protective order if they meet the protective order’s standard for designation.




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 There is no support in the Federal Rules, Local Rules, this Court's form Protective Order or this

 Court's prior rulings to make such general categories ineligible for protection under an order.

        Defendants' first proposed sentence—"The parties’ infringement and invalidity

 contentions may be designated only insofar as they cite to confidential information"—is

 unnecessary given that the above standard already defines what is eligible for protection. The

 proposed sentence also improperly limits protection to portions of claim charts that cite

 underlying confidential information. A plaintiff's claim charts, for example, often contain a

 confidential description of how, in the plaintiff's view, the defendants' accused instrumentalities

 satisfy the asserted claims. This description may include parts that, taken separately, would not

 be confidential, such as excerpts from the patent claims, website screen captures, links, and code

 put together by the plaintiff from various public sources. Confidentiality may derive from

 building blocks that are not independently confidential, just as a business' customer list or

 supplier list may be comprised entirely of the names of companies that are well-known to the

 general public but still be highly confidential.

        Defendants' second proposed sentence—"For the avoidance of doubt, the parties’ legal

 theories of infringement and invalidity are not themselves designatable material"—is similarly

 unnecessary because it excludes a category of documents that could meet the standard in the

 Parties' proposed Protective Order. There is nothing improper about protecting claim charts that

 contain a confidential description of how a defendant's accused instrumentalities satisfy the

 asserted claims provided that the information in the claim charts as a whole is not generally

 known, that such information would not normally be revealed to third parties, and disclosure of

 such information would be detrimental to the designating party's business. Indeed, this is the

 linchpin of this Court's holding in ExitExchange. No. 2:10-cv-297, Dkt. No. 223, at 1; see also




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 ExitExchange Corp. v. Casale Media Inc., No. 2:10-cv-297, 2012 WL 996960, at *1-*2 (E.D.

 Tex. Mar. 23, 2012) (rejecting defendants’ motion to remove confidentiality designations).

        Defendants' reliance on Net Navigation Sys., LLC v. Alcatel-Lucent USA Inc., No. 4:11-

 cv-00663, Dkt. No. 107 (E.D. Tex. Sept. 19, 2012) to distinguish ExitExchange is misplaced.

 The Net Navigation court entered the parties' agreed upon protective order, which was more

 stringent than the one proposed in this case, requiring documents to be “especially sensitive” and

 capable of causing "significant competitive harm if disclosed" in order to be eligible for

 protection. No. 4:11-cv-00663, Dkt. No. 107, at 2. The court subsequently denied a motion to

 maintain the "confidential" designation of the plaintiff's claim charts because, in that court's

 view, that plaintiff's claim charts in Net Navigation did not meet the "especially sensitive"

 standard in the protective order in that case and disclosure would not cause that plaintiff

 significant competitive harm. Id. at 2.

        Even if Net Navigation’s holding were not specific to the protective order standard and

 claim charts in that case, the Net Navigation court's basis for distinguishing ExitExchange was

 that the plaintiff in that case apparently was a non-operating entity without competitors and

 therefore in that court's view could not be harmed.        Id. By contrast, for nearly 20 years

 Alacritech has been and continues to be an operating company in the network acceleration

 industry with real products, customers and competitors. Exh. B, Decl. of Larry Boucher, ¶¶2-3.

 Net Navigation is thus distinguishable and this Court should follow ExitExchange’s holding that

 claim charts are not per se ineligible for protection and can be designated if they meet the

 definition of confidentiality in the protective order.

        Defendants’ other cases are similarly unavailing. None of the cases cited by Defendants

 below were decided by this Court, as was ExitExchange, and they are based on different




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 protective orders, claim charts and/or facts particular to those cases. For example, the Fractus

 case was distinguished and rejected by this Court in ExitExchange because it involved a different

 protective order. ExitExchange, No. 2:10-cv-297, Dkt. No. 223, at 1; 2012 WL 996960, at *1

 n.1. The Constellation case involved an non-operating entity, like in Net Navigation, and the

 court ordered disclosure since the plaintiff in that case “identified no actual harm it would

 suffer.” 2007 WL 7658921, at *3. Similarly, the Medtronic case turned on the absence of harm

 to that plaintiff.2   No. 08-cv-1512, Dkt. No. 75 (S.D. Cal. Aug. 13, 2009).         Finally, the

 unpublished HTC case actually allowed claim charts and analysis to be designated as

 confidential; the court in that case disapproved only of designating underlying public information

 as confidential and only allowed the accused infringer’s suppliers to view the patentee’s claim

 charts because it was the supplier’s product that was accused of infringement. 2009 WL

 1392513, at *2. By contrast, Alacritech has produced without designation all public documents

 and information cited in its claim charts and given express permission to Defendants to disclose

 such documents and links to third parties. In addition, Alacritech has accused Defendants’

 products and services of infringement, not individual third party suppliers’ components.

        In sum, there is no reason to treat claim charts differently than any other documents or

 information under the protective order. As in ExitExchange, if a party believes claim charts have

 been improperly designated confidential, the protective order provides a mechanism for

 challenging the designation. See Exh. A ¶19. This procedure allows for challenges to and

 review of specific designations without prejudging entire categories of documents or

 information. Defendants' attempt to bypass that procedure by adding specific carve-outs to the


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             The GoDaddy.com case did not even involve a motion for protective order or motion
 to de-designate. Rather, the motion before the court in that case was to seal claim contentions
 filed in the court’s public docket. 2016 WL 1158851.


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 protective order should be rejected. Litigating confidentiality designations through the addition

 of such carve-outs serves only to multiply disputes over the form of protective orders, delaying

 their entry and impeding discovery.

        For all the above reasons, Plaintiff Alacritech requests that the Court issue the proposed

 Protective Order in this case without the two sentences in Paragraph 6 proposed by Defendants.

 II.    Alacritech's Designation of Its Contentions under the Protective Order Is Proper

        Defendants have objected to the designation of Alacritech's claim charts as

 “Confidential” but have yet to file a motion to de-designate as required under the Parties’

 proposed Protective Order.     Accordingly, although the Court should defer consideration of

 Defendants’ objection until such a motion is filed, Alacritech briefly addresses the propriety of

 its designation below since Defendants have done the same. In short, Alacritech's charts plainly

 satisfy the requirements for a "Confidential" designation under the ExitExchange standard in the

 Protective Order. See Exh. A ¶6. And this Court, in ExitExchange, considered and denied such

 a motion to de-designate the plaintiff's claim charts on nearly identical facts to this case. See

 ExitExchange, No. 2:10-cv-297, 2012 WL 996960 (E.D. Tex. Mar. 23, 2012).

                A.     Alacritech’s Contentions Are Not Generally Known Or Shared

        Alacritech's claim charts as a whole contain confidential descriptions of how, in

 Alacritech's view, the defendants' accused instrumentalities satisfy the asserted claims of the

 patents-in-suit. Alacritech does not generally disclose these charts or this type of information to

 third parties. Exh. B ¶4. Alacritech's charts in this consolidated action are nearly 5000 pages in

 length and have only been disclosed on a “Confidential” basis pursuant to the Local Rules and




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 the proposed Protective Order.3 Id. Alacritech has never disclosed and does not intend to

 disclose its charts, or the confidential descriptions in them, to third parties. Accordingly, the

 information in Alacritech's claim charts is “Confidential” information that is not generally

 known or revealed to third parties.

                 B.      Disclosure Would Be Competitively Detrimental to the Conduct of
                         Alacritech’s Ongoing Business

         Alacritech is not a patent troll. For nearly 20 years Alacritech has been and continues to

 be an operating company in the network acceleration business. Exh. B ¶2. Alacritech has real

 products and real customers that have bought Alacritech's products and Alacritech continues to

 support them to this day. Alacritech has many competitors and seeks to control the market for its

 patented network acceleration technologies to maintain a competitive edge.             Id. ¶¶3-4.

 Alacritech does this by restricting the terms under which competitors may offer Alacritech’s

 network acceleration technologies to the market and by enforcing its patents. Id. Alacritech

 plans to continue this business and grow and expand its operations over time. Id. ¶2. Central to

 these significant and competitive business goals is Alacritech’s power to maintain the

 confidentiality of claim charts like those at issue in this case. Id. ¶4.

         If Defendants are permitted to disseminate freely or publicly file Alacritech’s claim

 charts, Alacritech’s competitors may use these charts to file interferences or mount validity

 challenges, file anticipatory declaratory judgment actions in other jurisdictions, or procure

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            To the extent that Defendants argue that the information in Alacritech’s charts became
 generally known when it filed its complaints, the argument fails. The allegations required to
 meet pleading requirements, see Fed. R. Civ. P. 8(a), are small in number and detail compared to
 Alacritech's P.R. 3-1 claim charts. No one can credibly argue that 5000 pages of claim charts is
 generally known as a result of a few allegations in the complaints. Moreover, this Court in
 ExitExchange considered and rejected the “public notice” policy argument advanced by
 Defendants in this case. The notice function is met by the claims, specification, and the
 prosecution history. There is no statutory, case or public policy requirement that a patentee also
 publicize a chart explaining how exemplary products infringe.


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 blocking patents to force cross-licensing, all of which would be detrimental to Alacritech's

 competitive position in the network acceleration industry by shrinking its market share,

 negatively affecting its patent positions, and causing direct financial harm. Alacritech does not

 have the resources of its large competitors to simultaneously compete against any number of

 these obstacles as it also continues to grow its competitive position in the industry.

        In sum, disclosure of its claim charts would be competitively harmful to Alacritech's

 ongoing business.

                C.      Maintaining the Confidentiality of Alacritech’s Contentions Does Not
                        Prejudice Defendants

        Finally, Alacritech's "Confidential" designation of its claim charts has no effect on

 Defendants’ ability to defend themselves or otherwise participate in the litigation. On the

 contrary, since the Parties' proposed Protective Order gives Defendants' attorneys, expert

 consultants, and designated in-house representatives full access to such "Confidential"

 information, Defendants' ability to prepare their case and produce documents is not impaired.

 Exh. A ¶5. Moreover, to the extent any Defendant has a particularized need to disclose the

 information to an additional designated employee, that Defendant may do so with Alacritech's

 prior written consent as was the case in ExitExchange. Id. ¶5(d).

        Defendants' only claim of prejudice is that they supposedly need to obtain information

 and documents from suppliers of certain components in Defendants' accused network systems

 and services. Even setting aside the unlikelihood that Defendants do not have information and

 documents in their possession explaining how their own network systems and services work, the

 confidential designation of Alacritech’s claim charts does not prevent Defendants from asking

 their suppliers for information and documents about any component in Defendants' accused

 network systems and services; it simply prevents Defendants from sharing the claim charts, and



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 summaries, extracts and digests thereof, with third parties.4        And contrary to Defendants’

 assertions, Alacritech has accused a variety of complex combined products and services, all of

 which are designed, developed and operated by the Defendants in this case, not individual third

 party suppliers of components to these accused instrumentalities. The accused instrumentalities

 have many components but Alacritech has only accused combined products and services of

 infringement. Defendants’ arguments to the contrary does not make it true.

           Neither the CenturyLink nor Wistron Defendant groups (totaling 6 of the 7 Defendants in

 this case) have identified a third party with a particularized need to see Alacritech’s claim charts.

 In fact, these Defendants admit that they want to be able to disclose the charts to third parties for

 reasons unrelated to this consolidated action and their initial disclosures show that none of them

 has indemnity from any third party. And although Dell has claimed certain third parties may be

 responsible for paying part of a recovery against Dell in this matter, Dell has not produced any

 evidence of any such agreements with third parties (despite Alacritech’s request). As such, it

 remains to be seen whether any third party has any legitimate need to see Alacritech’s claim

 charts.



 Defendants’ Position on Paragraph 6

           Alacritech’s proposed language for this portion of the Protective Order is designed to

 allow it to designate its infringement contentions as Protected Material even where they are not

 based on confidential information. This would deny the real parties in interest (the third party

 suppliers of the relevant components identified in the infringement contentions) from seeing and

           4
           Moreover, contrary to Defendants’ assertion, Alacritech has offered to prepare a list of
 standalone components in Defendants' accused network systems and products that Defendants
 can provide to their suppliers in connection with a request for information and documents about
 such components if the Defendants believe it is necessary to prepare their defenses in this case.


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  responding to the allegations against them. Defendants’ proposed language, on the other hand,

  balances the parties’ interests by allowing contentions to be designated confidential but only to

  the extent they actually cite confidential information. Defendants’ language is consistent with

  this District’s precedent on this issue, and it allows the real parties in interest to respond to the

  allegations against them. It also preserves the public notice functions of patents, which allows

  people to understand the purported scope of patent rights. Even if everything Alacritech argues

  is taken as true, the law should not permit Alacritech to specifically mention a third party’s

  product in infringement contentions and then use a confidentiality designation to refuse that

  party the right to see and respond to the allegations against it. This dispute has a material impact

  on these cases given the nature of Alacritech’s infringement allegations.

          The functionality underlying all of Alacritech’s infringement allegations takes place

  within network controllers. Instead of suing the manufacturers/suppliers of these network

  controllers, Alacritech chose to sue customers or end users.5 None of the named defendants

  actually makes the network controllers at the heart of Alacritech’s infringement allegations.

          Alacritech’s infringement allegations are based entirely on publicly available

  information.6 Alacritech specifically named the suppliers/manufacturers of these network

  controllers in its infringement contentions, but then Alacritech marked the infringement

  contentions as Protected Material and has not been willing to de-designate and now seeks a

  protective order allowing them to maintain that designation, so the defendants cannot show the



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          For example, Dell buys its network controllers from suppliers like Intel, Broadcom,
  QLogic, and Emulex. Wistron also buys its controllers from third party suppliers, and the
  CenturyLink defendants buy servers from HP, Dell, and others.
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           Defendants can submit the infringement contentions under seal or for in camera review
  if the Court so desires.


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  allegations of infringement to the real parties in interest – the manufacturers/suppliers of these

  network controllers.

         Alacritech’s proposal will have an unfairly prejudicial impact on defendants in a number

  of ways. For example, Defendants have various indemnities owed to them by the

  manufacturers/suppliers of the network controllers. Those indemnitors, however, understandably

  want to see what they are accused of doing to evaluate the indemnity demands. Alacritech’s

  proposed system of designation will prevent these discussions. Alacritech has even refused to

  allow defendants to show the indemnitors a list of the network controllers and adapters accused

  of infringement in the contentions even though all of this is public information.

         Moreover, if Alacritech’s Protective Order language is permitted, the parties cannot have

  meaningful settlement discussions. The real parties in interest are the indemnitors. Depending

  on the scope of Alacritech’s allegations, they may have rights to control the defense and to direct

  settlement, but Alacritech’s designation denies defendants the ability to have the

  suppliers/manufacturers at the table for any discussions. Three suppliers of the accused network

  controllers (Broadcom, Emulex, and QLogic) have existing licenses with Alacritech, but

  Alacritech will not allow defendants to show the infringement contentions to them so they can

  evaluate their license defenses and potential exhaustion issues.

         The Defendants also cannot fully prepare their defense because the understanding of how

  the accused products operate, and the core discovery, comes from the third party

  suppliers/manufacturers, but the defendants cannot develop their technical theories of the case—

  which will rely primarily on information from their suppliers about how their products actually

  operate with respect to the accused functionalities—because of Alacritech’s confidential

  designation of these contentions. Alacritech’s designation seems designed simply to prevent




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  defendants from fully developing their case. Alacritech’s proposed compromise to provide a list

  of components to its suppliers would still prevent Defendants from discussing substantive

  defenses against Alacritech’s infringement claims with its suppliers.

         Alacritech’s only stated justification for this designation is that this Court allowed

  contentions to be designed confidential once before in the 2012 case ExitExchange Corp. v.

  Casale Media Inc., No. 2:10-CV-297, 2012 WL 996960 (E.D. Tex. Mar. 23, 2012) (J. Gilstrap)

  (“ExitExchange”); ExitExchange Corp. v. Casale Media Inc., No. 2:10-CV-297, CM/ECF No.

  223 (E.D. Tex. May 19, 2011) (J. Ward) (“ExitExchange PO Ruling”). The facts of that case,

  however, are quite different from the situation here.

         In ExitExchange, J. Ward held that the Court would not impose a blanket rule in a

  protective order that contentions can never be confidential; there are circumstances (e.g., where

  contentions depend on confidential information) where contentions can properly be designated

  confidential. ExitExchange PO Ruling, at *2 (“[T]he Court will allow, generally, documents

  such as claim charts to be deemed confidential. However, to the extent Defendants feel that

  Plaintiff is abusing this ruling, the protective order in paragraph seven allows a party to challenge

  confidential designations. The Court is only ruling here that claim charts, in general, may be

  confidential and designated in accordance with the protective order.”). Further, the Court noted

  that the defendants would not be prejudiced and prevented from sharing the infringement

  contentions with their suppliers because the existing protective order allowed designated material

  to be shared with written consent (implying that such consent should be granted in that situation).

  ExitExchange, at *2. That is not the case here, however, as the contentions are based entirely on

  publicly available information, and Alacritech refuses to allow defendants to share the




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  contentions with the suppliers whose products are accused of infringement in Alacritech’s

  contentions.

         These cases are more analogous to another case from this District, Net Navigation

  Systems v. Alcatel-Lucent USA Inc., Case No. 4:11-cv-00663 (E.D. Tex. Sept. 19, 2012) (J.

  Mazzant), where J. Mazzant ruled on the exact issue of whether ExitExchange meant that

  infringement contentions based on only public documents could properly be designated

  confidential. J. Mazzant applied ExitExchange and held that it was not proper to designate

  infringement contentions confidential where they are based on only non-confidential

  information. Id. Defendants’ proposed language for the protective order would allow a party to

  mark contentions confidential insofar as they are based on confidential information, but disallow

  designation if they are not, which is consistent with both Exit Exchange and Net Navigation.

         Indeed, the decision in Net Navigation accords with decisions from district courts across

  the country that infringement contentions based on public information should not be sealed from

  the public or designated confidential under a protective order’s provisions. See, e.g.,

  GoDaddy.com LLC v. RPost Commc’ns Ltd., No. CV-14-00126-PHX-JAT, 2016 WL 1158851,

  at *6 (D. Ariz. Mar. 24, 2016) (denying motion to file excerpt from infringement contentions

  under seal); Medtronic Sofamor Danek USA, Inc. v. Nuvasiv, Inc., Case No. 08-cv-512-MMA-

  AJB (S.D. Cal. Aug. 13, 2009) (finding that preliminary infringement contentions based on

  publicly available information should not be protected, and defendants should not need to ask

  permission to share them with their employees); HTC Corp. v. Tech. Properties, No. C08-00882

  JF (HRL), 2009 WL 1392513, at *2 (N.D. Cal. May 14, 2009) (ordering disclosure of

  infringement contentions to third party manufacturers and noting the court would be inclined to

  grant a motion for complete de-designation of the infringement contentions because the counter-




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  plaintiff had not “shown the court anything that looks remotely confidential or worthy of any

  protection” and rejecting counter-plaintiffs argument that the analysis they added to the publicly

  available documents made the PICs worthy of protection, while allowing temporary protection

  for reverse engineering reports allegedly created by the PICs’ creators); see also Fractus SA v.

  Samsung Electronics Co., Ltd., Case No. 6:09-xc-00203-LED-JDL, CM/ECF No. 410, at *2

  (E.D. Tex. June 7, 2010) (“Plaintiff’s analysis of the accused products is merely a legal

  infringement position and not confidential.”); Constellation, LLC v. Avis Budget Grp., Inc., No.

  5:07-CV-38, 2007 WL 7658921, at * 3 (E.D. Tex. Oct. 30, 2007) (“Constellation has not

  established that the infringement contentions contain trade secrets or other information entitled to

  the ‘Confidential’ designation. . . . Once disclosed to the opposing party, such ‘legal strategy’ is

  not inherently worthy of the ‘Confidential’ designation.”).

         Alacritech cannot carry its burden to show that these contentions are confidential. In any

  case, even if they were, courts in this District have held that the burden on the defendants (who

  would be unable to share the contentions with interested third parties or the PTO) outweighed

  any confidentiality interest of the plaintiff. See Constellation, LLC v. Avis Budget Grp., Inc., No.

  5:07CV38, 2007 WL 7658921, at *2-3 (E.D. Tex. Oct. 30, 2007). This is exactly the case here.

         Although Alacritech’s theories of infringement might have been confidential and

  protected work product before they were served on Defendants, once Alacritech filed a

  complaint identifying its theory of infringement and served infringement contentions, it lost the

  right to hide its theories from those suppliers whose components they accuse of infringement, as

  well as from the public (including the USPTO). Alacritech’s proposal attempts to circumvent

  the primary goal of a patent, which is to put the world on notice as to what would and would not

  infringe, by concealing their legal arguments from the public regarding what they believe the




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  patents cover. See id. at *3 (“If the infringement contentions are de-designated, the public can

  better ascertain what Constellation believes is the scope of its patent, allowing the public to avoid

  infringing activity and/or acquire a license.”) It seems unlikely Alacritech would be permitted to

  seal the Courtroom during its infringement case, especially if it was presenting publicly available

  information, so Alacritech should not be allowed to effectively seal its infringement case from

  the real parties in interest now. Cf. Standing Order Regarding Protection of Proprietary and/or

  Confidential Information to Be Presented to the Court During Motion and Trial Practice (June 1,

  2016) (information should not be protected unless it is “of such a sensitive nature that its

  disclosure creates a risk of harm that outweighs the strong presumption in favor of public access

  to judicial proceedings”).

         Alacritech’s contentions are based entirely on publicly available information, so there is

  no justification for a confidentiality designation at all. As a matter of sound public policy, and to

  comport with due process, Alacritech should not be permitted to accuse products of infringement

  and then hide behind a designation that prohibits the real parties in interest from seeing and

  responding to those allegations.      Defendants should be free to show these infringement

  contentions to any party that is specifically mentioned in them (or whose products are identified

  in them). Defendants’ proposed language for the Protective Order facilitates this.



  Alacritech’s Position on Paragraph 10(h)

         Defendants have requested and Plaintiff has agreed to a number of changes in the Court’s

  standard paragraph 10 of the form Protective Order for patent cases, including in disputed

  subsection (h), in order to accommodate Defendants’ concerns about the review and use of




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  Source Code in this case.7 The Parties’ only dispute generally concerns Defendants’ demand to

  place roadblocks on when, and how much, a receiving party may print Source Code in

  accordance with Paragraph 10(h).

         Alacritech’s proposed Paragraph 10(h) is consistent with this Court’s standard Paragraph

  10(h), which provides that “[t]he receiving Party shall be permitted to make a reasonable number

  of printouts and photocopies of Source Code Material,” and, at Defendants’ request, Alacritech’s

  proposal goes a step further in specifying a presumptively reasonable limit of 40 pages of

  continuous block Source Code that a receiving party may print. Compare Exh. A, Alacritech’s

  Proposed ¶10(h) with this Court’s form Protective Order for patent cases. At Defendants’

  request, Alacritech’s proposal also includes a variety of other protections: (i) the printed Source

  Code must be reasonably related to the issues in the case; (ii) it must be solely for use in this

  Action; (iii) it cannot be printed for the purpose of reviewing blocks of Source Code elsewhere in

  the first instance; (iv) the limits cannot be circumvented by printing substantially consecutive

  blocks of continuous block Source Code; and (v) the producing party is provided a procedure for

  objecting and seeking relief from the Court. These protections go beyond what this Court has

  determined is necessary in the past, and they are more than sufficient in this case.

         Defendants have no serious explanation why these protections are insufficient.8 Instead,

  Defendants’ proposed Paragraph 10(h) attempts to impose unnecessary delay and procedures

  impinging on a receiving party’s right to prompt discovery in the form of printing Source Code


         7
             Contrary to Defendants assertion, Plaintiff believes the Court’s standard paragraph 10
  of the form Protective Order would be fine as-is for this case.
         8
             Plaintiff is confident the Parties can work together to agree on such trivial issues as
  who provides the printer, the paper, and technical support for paper jams. Likewise, the
  proposed Protective Order includes a number of protections that would foreclose any possibility
  of attorneys or experts “walking straight out of the building” with a parties’ Source Code.


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  at the time of review. A receiving party should not have to wait for a producing party to consider

  a request to print Source Code and potentially not receive the documents for weeks or months if

  the producing party objects to the printing request. Discovery Order, Dkt. No. 50, ¶3 (“Without

  awaiting a discovery request, each party will … produce or permit the inspection of all

  documents, electronically stored information, and tangible things … that are relevant to the

  pleaded claims or defenses involved in this action … .”). This delay would be especially

  problematic and inefficient during the expert phase of the case where time can be of the essence

  with respect to an expert’s access to Source Code.

         Defendants’ desire to shift “control” of printing to the producing party, which is

  inconsistent with the Court’s standard Paragraph 10(h), will undoubtedly lead to highly

  subjective disputes about whether a receiving party is entitled to receive printed Source Code,

  which, in essence, would improperly shift the burden of discovery to the receiving party contrary

  to the Discovery Order. Id. And contrary to Defendants’ assertion, Alacritech’s proposal

  provides a mechanism to challenge abuse of the protections in the order. If during Source Code

  review a producing party determines that a receiving party’s experts are printing an inordinate

  number of pages of Source Code, the Protective Order has a mechanism for the producing party

  to object and seek a protective order at that time, as explained above.

         For all the above reasons, Alacritech requests that the Court issue the proposed Protective

  Order in this case with Alacritech’s proposed Paragraph 10(h).



  Defendants’ Position on Paragraph 10(h)

         Given the highly sensitive nature of Source Code, the Parties agree that special

  protections governing the production, printing, and control of Source Code are warranted in this




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  action. The Parties dispute, however, (i) which Party should be in control of the actual printing of

  any Source Code that may be produced and (ii) whether the Producing Party should be given the

  opportunity to object to the printing of Source Code before the Source Code is printed and

  provided to the Receiving Party. Defendants’ proposal strikes the appropriate balance between

  granting the Producing Party control over sensitive technical material while ensuring that the

  Receiving Party is provided with the materials needed to pursue its case in a timely manner.

  Plaintiff’s proposal, by contrast, introduces unnecessary logistical and security concerns while, at

  the same time, leaving the Producing Party no real recourse to prevent unreasonable and

  indiscriminate printing of Source Code.

         The Parties’ first dispute is straightforward: Defendants believe that the Producing Party

  should be in control of printing the portions of Source Code selected by the Receiving Party

  three business days after it is requested. In contrast, Plaintiff believes that the Receiving Party

  should be able to print the source code and walk out the door the same day without giving the

  Producing Party a meaningful opportunity to review and object. Plaintiff’s proposal presents a

  number of logistical and security issues, which are obviated by Defendants’ solution. First,

  Plaintiff’s proposal is unclear which Party must provide the printer, paper, or other materials

  needed for printing. Because Source Code will be produced on stand-alone computers in the

  offices of the Producing Party’s counsel, the most logical solution is to have the Producing Party

  manage the printing process after the Receiving Party completes its review. If the Receiving

  Party is performing the actual printing of Source Code during the review, there will undoubtedly

  be issues and complaints from the Receiving Party about printer jams, paper availability, and

  other technical issues that will unnecessarily delay the review.




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         Moreover, allowing the Receiving Party to indiscriminately print paper copies of

  whatever portions of Source Code it desires has the serious potential to cause significant security

  issues undoing many of the agreed protections for controlling the production of Source Code.

  Under Plaintiff’s proposal, a Receiving Party could conceivably print extremely large and

  unreasonable swaths of Source Code and simply walk out of the building, without giving the

  Producing Party reasonable opportunity to review and object to the printing and removal of

  highly sensitive technical information. Allowing the Producing Party to control printing

  alleviates these security concerns, by giving the Producing Party an opportunity to object before

  printed Source Code is removed from the Source Code computer.

         While Defendants have no intention of unreasonably refusing to provide printed copies of

  source code, Defendants should have at least a few business days to review what was requested

  and confirm it is reasonable and being requested for a permitted purpose. Plaintiffs’ proposal

  gives the Producing Party no recourse to object to unreasonable amounts of source code being

  printed. Instead, the Receiving Party may simply select which files to print, print the files, and

  walk out of the building without providing the Producing Party any information or copies of the

  Source Code that were printed. Under Plaintiff’s proposal, an objection may only be lodged after

  the files have been printed. The only justification provided by Plaintiff for allowing such

  unrestrained printing is that it would like to review, print and walk away with Source Code the

  same day if the need arises as the Parties face the close of discovery and expert reports. This

  speculative concern can easily be obviated by Plaintiff being diligent with reviewing any Source

  Code that may be produced. Defendants’ proposal, by contrast, allows a Producing Party a

  limited amount of time (three business days) to evaluate a Receiving Party’s print request,

  compile the requested files, and either deliver printed copies or object to the request. This




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  proposal grants a modicum of control to a Producing Party in determining what Source Code is

  removed from the Source Code computer in printed form, while at the same time ensuring that

  all disputes are raised in a timely manner with the Court.




         The parties respectfully request that the Court resolve their disputed issues and enter the

  Protective Order.



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                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

  are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

  R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

  consented to electronic service were served with a true and correct copy of the foregoing by

  email on this the 27th day of September, 2016.



                                               /s/ Joseph Paunovich




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